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FOR THE WESTERN I)ISTRICT oF €IEHNE§§EY@ 3, 1115
WESTER`N DIVISION

 

 

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

Plaintiff.,
v. Civil action No. 04 2775 BP

MIRABILE INVESTMENT CORPORATION,
et al,

Defendants.

 

ORDER PERMITTING REPLY BRIEF

 

Before the Court is Defendants’, Mirabile Investment Corporation, et al’s (“Defendants”)
motion for leave to file a reply to Plaintiff, Equal Employment Opportunity Commission’s
Response to Defendants’ Motion to Disrniss. Plaintiff does not oppose the motion The Court has
considered the arguments set forth in Defendants’ motion and find that good cause has been
shown to allow Defendants to file a reply. Accordingly, the Court hereby GRANTS Defendants’
motion for leave to tile a reply.

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Signed, this the el day ofMay, 2005.

This document entered on the docketjheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

